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 5    Attorney for YAO MING YU
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 9                                  UNITED STATES DISTRICT COURT
10                                 EASTERN DISTRICT OF CALIFORNIA
11                                          FRESNO DIVISION
12
13     UNITED STATES OF AMERICA,                             )   No. 1:11 CR 00113-AWI-BAM
                                                             )
14                          Plaintiff,                       )
                                                             )   REQUEST FOR RULE 43 WAIVER
15                    V.                                     )   OF APPEARANCE AND
                                                             )   PROPOSED ORDER
16     ANDY YUNG KWONG CHAN, et. al.                         )
                                                             )
17                         Defendants.                       )
                                                             )
18                                                           )

19           COMES NOW DEFENDANT YAO MING YU, by and through his attorney HARRIS B.
20    TABACK, who respectfully requests that his personal appearance pursuant to Federal Rule of
21    Criminal Procedure 43 be waived for the November 14, 2016 Status Conference.
22           YU lives and works in the San Francisco Bay area and relies on his wages to care for his
23    wife and two children. He has been informed of this hearing by attorney Taback who has also told
24    him of the status of the case and that he may arrange for co-defendant’s counsel to appear special
25    for him at said Status Conference. YU agrees with the arrangement for representation and
26    respectfully requests that his appearance be waived.
27           Further, it is unlikely that the parties will have a resolution by the November 14th date,
28    however, the defense and the government are in weekly contact to attempt settlement. Those good
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 1    faith efforts continue.
 2    Dated: October 27, 2016                         Respectfully submitted,
 3                                                    LAW OFFICES OF HARRIS B. TABACK
 4
 5
 6                                              By:          ss Harris B. Taback
                                                      HARRIS B. TABACK
 7                                                    ATTORNEY FOR YAO MING YU
 8
 9          I, YAO MING YU, both understand my right to personally be present at the November 14,
10    2016 Status Conference and hereby waive that right. Further, I consent to have the Office of
11    Attorney Robert Lyons appear specially for my counsel on my behalf.
12
13    Dated: October 27, 2016                               ss Yao Ming Yu
                                                      YAO MING YU
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 4

 5                                 UNITED STATES DISTRICT COURT
 6                                EASTERN DISTRICT OF CALIFORNIA
 7
                                         FRESNO DIVISION
 8
 9
       UNITED STATES OF AMERICA,                       )    No. 1:11 CR 00113-AWI-BAM
10                                                     )
                           Plaintiff,                  )    [PROPOSED] ORDER WAIVING
11                                                     )    DEFENDANT YAO MING YU’S
                     V.                                )    PERSONAL APPEARANCE AT
12                                                     )    THE NOVEMBER 14, 2016 STATUS
13     ANDY YUNG KWONG CHAN, et. al.                   )    CONFERENCE PURSUANT TO
                                                       )    RULE 43
14                        Defendants.                  )
                                                       )
15
16
17           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED pursuant to Federal Rule of

18    Criminal Procedure 43 that Defendant YAO MING YU’s (006) personal appearance at the


19    November 14, 2016 Status Conference is waived.
20
21    IT IS SO ORDERED.


22    Dated: October 27, 2016                                    /s/ Barbara A. McAuliffe
23                                                         UNITED STATES MAGISTRATE JUDGE
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